             Case 3:11-cr-00017-LRH-VPC                Document 41     Filed 10/05/11      Page 1 of 6
AO 2458 (Rev.09/08)JudgmentinaCriminalCaqe
         Sheet1

                                         U NITED STATES D ISTRICT CO U RT
                                               DISTRICT O F N EV A DA

LJN ITED STATES OF A M EIUCA                 JUD G M EN T IN A CR IM IN A L C A SE
            V S.
TILFORD LAN E LAND IS,JR.                    CASE N UM B ER:     3:1I-CR-I7-LRH-V PC-Z                       '
                                             USM NU M BER:       45695-048

                                             Richard M olezzo.CJA
TIIE DEFENDANT:                              DEFENDANT'SAU ORNEY

(X)     pledguilty to thecharzecontainedintheIndictmentfiled 1/26/11
()      plednolocontenderetocountls)                                 whichwasaccepted bythecourt.
()      wasfound guilty on countts)                                  afterapleaofnotguilty.
Thedefendantisadjudicatedguiltyoftheseoffensets):                                                    '
                        .                                                      sate
Title & Section                    Nature ofO ffense                           O ffenseEnded             Count

2IU.S.C.841(a)(1)and               Possession W ithlntentto Distribute         8/24/10                   l
(b)(l)(C)                          aControlled Substance(Methamphetamine)



        Thedefendantissentencedasprovidedinpages2through 6 ofthisjudgment.Thesentenceisimposedpursuant
to theSentencing Reform Actof 1984.

()      Thedefendanthmsbeenfoundnotguilty oncountts)
()      Countts)                           (isltare)dismissedontbemotionoftheUnited States.
       IT IS ORDERED thatthe defendantmustnotify the United SmtesAttorney forthisdistrictw ithin 30 daysofany
change ofnam ezresidence,orm ailing address untilallGnes,restitution,costs,and specialassessments im posed by this
judgmentarefullypaid. Iforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStatesattorneyof
m aterialchangesin econom ic circum stances.

                                                                 O ctober3.201I
                                                                 Date ofIm position ofJudgm ent


               'FILED                     RK EI
                                              VED
                ENTERED                   SERW DON
                            CIXINSEI
                                   A ARTI
                                        ESCFRECCRD               SignatureofJudge

                      021 25 2211                                LARRY R.HICKS
                                                        .        u.s.ols-fw c'r JU DGE
                                                                 x ame and Title orludge
                   ctEu tlsDlsm m COURT
                     nl
                      sml
                        c'
                         rOFNEVKA                                   /P/X //                                  .
         BY:                                 nEptrry             oate -
             Case 3:11-cr-00017-LRH-VPC         Document 41       Filed 10/05/11      Page 2 of 6
AO 2458 (Rev.09/08)ludgmentinaCriminalCa'
                                        ;e
         Sheet2-lmprisonment
DEFEN DANT:              TILFORD LAN E LAN DIS,JR .                                         Judppent-Page 2
CASE NUM BER:            3:1I-CR-I7-LR.H-VPC-2

                                             IM PRISO NM ENT

        Thedefendantishereby comm ittedto thecustody oftheUnited StatesBureau ofPrisonsto be imprisonedforatotal
term of:EIGHTEEN (18)M ONTHS




()      Thecourtmakestbefollowing recommendationstotheBureauofPrisons:


()      Thedefendantisremandedto thecustodyoftheUnitedStatesMarshal.
()      ThedefendantshallsurrendertotheUnitedStatesM arshalforthisdistrict:
        ( ) at                  a.m./p.m.on              '
        ( ) asnotîfied by theUnitedStatesMarshal.                                                   .
(X)     The defendantshallsurrenderfor service ofsentence atthe institution designated by tbe Bureau of Prisons:
        (X) before 12p.m.onDECEMBER 2.2011
        ()       asnotifiedbytheUnitedStattsMarshal.
        ()       asnotified bytheProbationofPretrialSe-icesOffice.

                                                  M TU G

lhaveexecutedthisjudgmentasfollows:



Deftndantdelivered on                               to
at                                                                       ,withacertifiedcopyofthisjudgment.

                                                           IJNITED STATES M ARSHAL

                                                           BY :
                                                                     Deputy United StatesM arshal
            Case 3:11-cr-00017-LRH-VPC                    Document 41           Filed 10/05/11       Page 3 of 6
AO 2458 (Re%'09/08)JudgmenlinaCriminalCasc                                                                                          '
         Sheet3-Supel
                    visedRelc%r
DEFEN DANT:               TILFORD LANE LAND IS,JR.                                                         Judgment-Page 3
CASE     BER:             3.
                           .lI-CR-I7-LRH-VPC-2


                                                  SU PERYRSED R ELEA SE

        Upon release from imprisonmentsthe defendantshallbe on supervised releaseforaterm.of THREE (3)Y EARS                             ...

        The defendantm ustreportto the probation office in thedistrictto which the defendantisreleased w ithin 72 hours
ofreleasefrom the custody ofthe Bureau ofPrisons.

The defendantshallnotcom m itanotherfederal,state,orlocalcrime.

The defendantshallnotunlawfully possessa controlled substance.Thedefendantshallrefrain from any unlawfuluseofa
controlled substance.Thedefendantshallsubm itto onedrug testwithin l5 daysofrelemse from imprisonmentand atIeast
two periodicdrug teststhereafter,notto exceed l04 drug testsannually. Revocation ism andatory forrefusalto comply.

()      Theabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatthedefendantposesaIow risk
        offuturesubstanceabuse.(Check,ifapplicable.)             '                                             .
(X)     ThedefendantshallnotpossessaGrearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,
        ifapplicable.)
(X)     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationoffice.(Check,ifapplicable.)
()      ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotification Act(42U.S.C.
        j 16901,e/seq.)Asdirected bytheprobationoffice,theBureauofPrisons,oranystatesexoffenderregistration
        agency in which he orshe resides.,works,is a student,orwas convicted ofa qualifying ofrense. (Check,if
        applicable.)     .
()      Thedefendantshallparticipatein anapproved program fordomesticviolence.(Check,ifapplicable.) . '
       lfthisjudgmentimposesa fine orarestitution,itisacondition ofsupervised relemse thatthedefendantpay in
accordancewiththeScheduleofPaymentssheetofthisjudgment.
        Thedefendantm ustcom ply with the standard conditionsthathave been adopted by thiscourtaswellmsw ith any
additionalconditionson theattached page.

                                      STAN DARD CONDITIO NS OF SUPERW SIO N

l)      thedefendantshallnotIeavethejudicialdistrictwithoutthepermissionofthtcourtorprobationomce;
2)      thedefendantshallrepontotheprobationofliceandshallsubmitatruthfulandcompletewrittenreportwithinthcfirstfivedaysof
                                                                                                                        -eachmonth;
3)      thedetkndantshallanswcrtruthfullyaIlinquiriesbytheprobationofficeandfollow theinstructionsoftheprobationoflice;
4)      thcdefendantshallsuppon hisorherdcpendantsandmeetotherfamilyresponsibilities;                                      '
5)      thedefendantshallworkregullrlyatala&vfuloccupationunlessexcusedbytheprobationomceforschooling,traininp orotheracceptable
        reasons;
6)      thedefendantshallnotifytheprobationofficeatleasttendayspriortoanychangeinresidenceoremployment;                     '
7)      thedefendantshallrefrainfrom excessiveuseof
                                                  -qlcoholandshallnotpurchmse possess,use distributtoradministeranycontrolledsubstance
        orany paraphemalia relatedto any controllcd substances cxceptasprescribed by aphysician;
8)      thcdefendantshallnotfrcquentplaceswherecontrolledsubstancesareillegallysold used distributed,oradministered;
9)      thedefendantshallnotMsociatcwithanypersonsengagedincriminalactivity andshallnotassociatewithanypersonconvictedofafelony,
        unlessgrantedpermissionto do so b)'th:probation office;
I0)     thedefendantshallpermitaprobationoflicetovisithim orheratanytimeathomeorelsewhereandshallpennitconfiscationofanycontraband
        observed inplain view oftheprobation oflice;
1l)     thedcfendantshallnotifytheprobationoflicewithinscvectptwohoursofbeingarrested orquestionedb)'aIaw enforcementoffice;.
l2)     thedefendantshallnotcnterintoanyagrtcmecttoactasaninformeroraspecialagcntofalaw enfbrcementagencywithoutthepermission
        ot
         -thc court;and
l3)     msdirectedbytheprobationofficc thtdefendantshallnotifythirdpartiesofrisl
                                                                               csthatmaybeoccasionedbythedefendant'scriminalrecord
        orpersonalhistoryorcharacteristics andshallpermittheprobationofficetomakesuchnotificationsandtoconj
                                                                                                          irm thedefendant'scompliance
        with such notification requiremcnt.
                Case 3:11-cr-00017-LRH-VPC            Document 41        Filed 10/05/11      Page 4 of 6
    AO 2458 (Rtv.09/08)Jud!mentinaCriminalCasc
             Sheet3-SupervlsedRelcase
    DEFENDANT:               TILFORD LANE LANDIS,JR.                                               Judgment-Page 4
    CASE N IJM BER:          3:lI-CR-I7-LRH-VPC-2



                                          SPECIAL CONDITIONS O F SIJPERVISIO N

    1.      Possession ofW eaoon -Thedefendantshallnotpossess,have underhis/hercontrol orhaveaccessto any firearm,          .

            explosive device,orotherdangerous weapons,asdefined by federal,state orlocaliaw.                                    .

    2.      W arrantless Search -The defendantshallsubm itto the search ofhis/herperson,and any properb,,residence,or
            automobile underhis/hercontrolby the probation office orany otherauthorized person underthe im mediate and
            personalsupervision ofthe probation office w ithouta search warrantto ensure compliance w ith alIconditionsof
            release                                                           '

    3.      Substance Abuse Treatment- The defendant shallparticipate in and successfully complete a substance abuse
            treatment and/or cognitive based life skills program ,which w illinclude drug/alcoholtesting and outpatient
            counseling,asapproved and directed by theprobation office.You shallrefrain from the use and possession ofbeer,
            wine,liquorand otherform sofintoxicantsw hileparticipating in substanceabuse treatment.Further,thedefendant
            shallberequired to contributetothe costsofservicesforsuchtreatment,asapproved and directed bytheprobation
            office,based upon his/herability to pay.

    4.      AlcoholAbstinence-Defendantshallrefrain from the use and possession ofbeer,wine,Iiquorand otherformsof
.           intoxicants.

    5.      Communiw Service-ThedefendantshallcompleteONE HUNDRED (100)hoursofcommunitjzservice,asapproved
            and directed by the probation oflice.

    6.      M entalHealth Treatm ent-The defendantshallparticipate in and successfully complete a mentalhealth treatment
            program,whichm ay includetesting,evaluation,and outpatientcounselingasapprovedanddirected bytheprobation
            office. You shallrefrain from the use and possession of beer,w ine,liquorand otherforms ofintoxicants while
            participating inmentalhealthtreatm ent.Further,thedefendantshallberequiredtocontributetothecostsofservices
            forsuch treatment,asapproved and directed by the probation office,based upon his/herability to pay.                 .

    7.      LawfulDriver-The defendantshallnotoperatea m otorvehicle unlesslawfully Iicensed,registered,and insured.

    8.      Reoortto Probation OfficeAfterReleasefrom Custodv-Thedefendantshallreportin persontotheprobationoff-ice
            in theD istrictto which the defendantis released w ithin 72 hoursofrelease from custody.
                Case 3:11-cr-00017-LRH-VPC                     Document 41     Filed 10/05/11       Page 5 of 6
    AO 2458 (Rev09/08)JudgmrntinaCriminalCase                                                   '
             Sheet5-CriminalM onetarvPenalties
    DEFENDANT:                TILFORD LANE LAN DIS,JR.                                                   Judgm ent-Page 5
    CA SE N UM BER:           3:lI-CR-I7-LRH-VPC-2                                                                                '

                                                 CR IM IN A L M O N ETAR Y PEN ALTIES

            The defendantmustpay thetotalcrim inalmonetary penaltiesunderthescheduleofpaymentson Sheet6.
.
                                        A ssessm ent                    Fine                           R estitution       .   .

            Totals:                     $l00.00                         SW AIV ED                      $N/A
                                        Due and payable imm ediately.

    ()      OnmotionbytheGovernment,IT ISORDERED thatthespecialassessmentimposed bytheCourtisremitted.
    ()      Thedeterminationofrestitution isdeferreduntil                           .AnAmendedJudgmentinaCriminalCase
            (AO 245C)willbeenteredaftersuch determination.              '
    ()      Thedefendantshallmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlisted
            below .                                                .

            Ifthedefendantmakesapartialpayment,each payee shallreceive an approxim ately proportioned payment,unless
            specifiedotherwiseinthepriority orderorpercentagepaymentcolumnbelow. However,pursuantto 18U.S.C.j
            366441),a1Inonfederalvictimsmustbepaid beforetheUnited Statesispaid!
    Name ofPavee                                   TotalLoss            Restitution O rdered           Prioriw ofPercentaze

    Clerk,U.S.DistrictCourt
    Attn:FinancialOffice
    CaseNo. 3:1I-CR-I7-LRH-V PC-2                                                                                                 .
    333 LmsVegas Bou 'levard, South
    LasVegas,NV 89101

    TOTALS                              :          $                    $             '


    Restitution am ountordered pursuantto pleaagreem ent: $
    The defendantm ustpay intereston restitution and a fine ofm ore than $2,500,unlessthe restitution orfine ispaid in full
    beforethefifteenthdayafterthedateofjudgment,pursuantto 18U.S.C.b3612(9.AI1ofthepaymentoptionsonSheet6
    maybesubjecttopenaltiesfordelinquencyand default,pursuantto l8 U.S.C.j36l2(g).
    The courtdeterm ined thatthe defendantdoesnothavethe ability to pay interestand itisordered that:

            theinterestrequirementiswaivedforthe: ( )fine ( )restitution.                                                         .
            theinterestrequirementforthe: ( )fine ( )rçstitutionismodifiedasfollows:




    *f-indingsforthe tptalam ountoflossesare required underChapters 109A,110,110A,and l134.ofTitle 18 foroflknses
    comm itted on orafterSeptem ber 13,1994 butbefore April23,l996.
             Case 3:11-cr-00017-LRH-VPC           Document 41       Filed 10/05/11     Page 6 of 6
AO 2458 (Rev09/08)JudgmentinaCriminalCase
         Sheet6 -ScbeduleofPavments
D EFEND AN T:             TILFORD LANE LANDIS,JR .                                           Judgment-Page '6
CASE N UM BER:            3:1I-CR-I7-LRH-VPC-2                              '


                                            SCHEDIJLE OF PA          NTS
Having assessed thedefendant'sability to payzpaym entofthetotalcrim inalmonetary penaltiesare due asfollows:

A        (X)    Lumpsum paymentofS 100.00        dueimmediately,baiancedue                                            .
                ( ) notlaterthan                'or     '
                ( ) inaccordancewith ( )C,( )D,or( )E below;or
B        ()      Paymenttobegin immediately(maybecombinedwith( )C,( )D,or( )E below;or
C        ()     Paymentin                                  (e.g.,weekly,monthly,quarterly)installmentsof$
                       overaperiod of                 (e.g.monthsoryears),to                    (e.g.,30or60days)
                afterthedateofthisjudgment;or
D        ()      Paymentin          (e.g.,weekly,monthly,quarterly)installmentsof$ '      overaperiodof     .
                      (e.g.,monthsoryears),to          (e.g.,30or60days)afterreleasefrom imprisonmenttoaterm
                 issupelwision;or

E        Paymentduringtheterm ofsupervisedreleasewillcommencewithin                (e,g.,30or60days)afterrelease
         from im prisonm ent.Thecourtwillsetthe paym entplanbased onanassessm entofthe defendant'sability to pay at
         thattim e;or                                        '

F        ()      Specialinstructionsregardingthepaymentofcriminalmonetary penalties:

Unlessthecourthasexpresslyorderedothenvise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetary
penalties isdue during imprisonment. Al1crim inalmonetary penalties,exceptthose paymentsmade through the Federal
Bureau ofPrisons'Inmate FinancialResponsibiiity Program,arem ade to theclerk ofthe court.

The defendantwillreceive creditforaIIpaymentspreviously m ade tow ard any crim inalmonetary penaltiesim posed.            .


()       Jointand Several
         DefendantandCo-DefendantNamesandCaseNumbers(including defendantnumber),TotalAmount Jointand
         SeveralAmount,and corresponding payee,ifappropriate.


()       Thedefendantshallpaythecostofprosecution.
()       Thedefendantshallpaytbefollowingcourtcostts):
()       Thedefendantshallforfeitthedefendant'sinterestinthefollowingproperty totheUnitedStates:

Paymentsshallbeapplied inthefollowing order:(l)assessment,(2)restitution principal,(3)restitution interest,(4)Gne
principal,(5)fineinterest,(6)community restitution,(7)penalties,and(8)costs,includingcostofprosecutionandoourt
costs.                                                                '
